       Case 1:15-cr-00124-TSE Document 85 Filed 10/02/15 Page 1 of 10 PageID# 719
AOIOB (Rev. 09/ll)(VAEDrev. 2) Sheet I •Judstncnl in•CriminalCue



                                       UNITED STATES DISTRICT COURT
                                                Eastern District of Virginia
                                                       Alexandria Division

UNITED STATES OF AMERICA
                    V.                                               Case Number:     1:15-CR-OO I24.TSE.2



SOHAIB AKHTER                                                        USM Number:     85390-083
                                                                     Defendant's Attorney: Gadeir T. Abbas. Esq.
Defendant.


                                       JUDGMENT IN A CRIMINAL CASE

   The defendant pled guilty to Counts 1,2 and 8 of the Indictment.
   Accordingly, the defendant is adjudicated guilty of the following counts involvingthe indicated offenses.

Title and Section                 Nature of Offense                         Offense Class      Offense Ended        Count


18 U.S.C. § 1349                  Conspiracy to Commit Wire Fraud           Felony             April 201S           1

t8U.S.C.§371                      Conspiracy to Access a Protected          Felony             March 201S           2
                                  Computer without Authorization

18U.S.C.§37I                      Conspiracy to Access a Government         Felony             March 201S           8
                                  Computer without Authorization

   On motion of the United States, the Court has dismissed the remaining counts in the indictment (Counts S,6, and II)
as to defendant SOHAIB AKHTER.

   As pronounccd on October 2,2015, the defendant is sentenced as provided in pages2 through 6 of thisJudgment The
sentenceis imposed pursuant to 18 U.S.C. § 3553 and the Sentencing Reform Act of 1984.

   It isORDERED that the defendant shall notify theUnited States Attorney for this district within 30days ofany change
of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment
arefully paid. Ifordered to pay restitution, the defendant must notify thecourt and United States Attorney ofmaterial
changes in economic circumstances.

   Signed this 2nd day of October, 2015.




                                                                         T. S. Ellis, in
                                                                         UnitedStates District Judge
Case 1:15-cr-00124-TSE Document 85 Filed 10/02/15 Page 2 of 10 PageID# 720
Case 1:15-cr-00124-TSE Document 85 Filed 10/02/15 Page 3 of 10 PageID# 721
Case 1:15-cr-00124-TSE Document 85 Filed 10/02/15 Page 4 of 10 PageID# 722
Case 1:15-cr-00124-TSE Document 85 Filed 10/02/15 Page 5 of 10 PageID# 723
Case 1:15-cr-00124-TSE Document 85 Filed 10/02/15 Page 6 of 10 PageID# 724
Case 1:15-cr-00124-TSE Document 85 Filed 10/02/15 Page 7 of 10 PageID# 725
Case 1:15-cr-00124-TSE Document 85 Filed 10/02/15 Page 8 of 10 PageID# 726
Case 1:15-cr-00124-TSE Document 85 Filed 10/02/15 Page 9 of 10 PageID# 727
Case 1:15-cr-00124-TSE Document 85 Filed 10/02/15 Page 10 of 10 PageID# 728
